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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

                               §
SIERRA CLUB, et al.,           §
         Plaintiffs,           §
v.                             §                 Civil Action No. 07-1756 (RCL)
                               §
ROBERT L. VAN ANTWERP, et al., §
          Defendants.          §
                               §

                                     ORDER

    The Court hereby adopts the Plaintiffs’ proposed scheduling order and it is
ORDERED that:

      • Within fifteen (15) days of this order, Plaintiffs will file a Supplemental
      Complaint, as well as deliver any new Endangered Species Act (“ESA”)
      notice letter that Plaintiffs believe is necessary to pursue any ESA claims,
      as provided by Section 1540(g) of the ESA;

      • Within forty-five 45 days of this order, Plaintiffs will complete their
      review of the administrative record; complete negotiations with Defendants
      to resolve any record disputes; and if necessary, move to supplement the
      administrative record;

      • In the event Plaintiffs serve a new notice letter, Plaintiffs will file any
      revised Supplemental Complaint incorporating those claims sixty-one (61)
      days after service of the notice letter;

      • Plaintiffs’ opening summary judgment brief will be due on whichever of
      the following dates is the latest:

             A. In the event Plaintiffs file a motion concerning the administrative
             record, then twenty (20) days after the Court resolves the motion;

             B. In the event Plaintiffs file a revised Supplemental Complaint
             adding ESA claims, then twenty (20) days after that filing;

             C. In the event Plaintiffs file neither a motion concerning the record
             nor a revised Supplemental Complaint, then within thirty (30) days
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            following the expiration of the time for plaintiffs to review the
            record;

     • Fourteen days following the filing of Plaintiffs’ motion for summary
     judgment, Defendants and Intervening Defendants will file their opposing
     briefs and motions for summary judgment;

     • Fourteen days thereafter Plaintiffs will file their opposing briefs and their
     reply brief; and

     • Seven days thereafter Defendants and Intervening defendants will file
     their reply brief.

SO ORDERED this 19th day of October 2009.



                                                       /s/
                                         ROYCE C. LAMBERTH
                                         Chief Judge
                                         United States District Court
